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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-00392-RM

UNITED STATES OF AMERICA,

             Plaintiff,

v.

1.    DANIEL STONEBARGER,

             Defendant.


                           FINAL ORDER OF FORFEITURE


      THIS MATTER comes before the Court on the United States' Motion for Final

Order of Forfeiture. The Court having reviewed said Motion FINDS:

      THAT the United States commenced this action pursuant to 18 U.S.C. § 1343,

as set forth in the Information on November 18, 2021;

      THAT a Preliminary Order of Forfeiture as to defendant Daniel Stonebarger was

entered on March 22, 2022;

      THAT all known interested parties were provided an opportunity to respond and

that publication has been completed as required by Fed. R. Crim. P. 32.2(b)(6);

      THAT the time for any third party to file a petition has elapsed;

      THAT no Petition for Ancillary Hearing has been filed by any petitioner; and

      THAT it further appears there is cause to issue a forfeiture order under 18 U.S.C.

§ 981(a)(1)(C), 28 U.S.C. § 2461(c).

      NOW, THEREFORE, IT IS ORDERED, DECREED, AND ADJUDGED:

      THAT the United States’ Motion for Final Order of Forfeiture is GRANTED;


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      THAT judgment of forfeiture for the $548,861.29 in fraud proceeds from the

defendant’s bank account ending in 6774, account title Finish Armor, LLC, and the 2016

Land Rover Range Rover, VIN #SALWR2EFXGA577611 is hereby entered.

      THAT the United States shall have full and legal title to the forfeited $548,861.29

in fraud proceeds from the defendant’s bank account ending in 6774, account title

Finish Armor, LLC, and the 2016 Land Rover Range Rover, VIN

#SALWR2EFXGA577611 and may dispose of them in accordance with law.

      SO ORDERED this _________ day of _____________________, 2022.


                                               BY THE COURT:


                                               _____________________________
                                               RAYMOND P. MOORE
                                               United States District Judge




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